C Se 2'05-cr-20074-.]PI\/| Document 54 Filed 07/01/05 Page 1 of4 Page|D 52
§AO 199A (%ev. 6/9"/') Orcler Setting Conditions of Release Page 1 of 3 Pages

F|LED lN OPEN COURT

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UNITED STATES DISTRICT CoUR*fE'~:-/-*"L£-;-
T¢ME» iQ.L 51 10

WESTERN Disrrict or 'Pil§ilrlh§`s ' '

United States of America
ORDER SETTING CONDITIONS

 

V. OF RELEASE
ARIANE GRANT Case Number: 2:05CR20068-D; 2:05CR20()72-D;
.J:o§cs nco ?3_0', 2:05<'_€ aoo
Defendant ¢i`- 05 CR Q,OO 78 - 5

lT lS ORDERED that the release of the defendant is subject to the following conditions:
(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in Writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed The defendant shall appear at (ifblank, to be notified) 167 N. Main St.1 9“’ iloor. Courtroom #3
Place

SQM-lcendm% on mon¢:\Z.\Q\\_Oc;\'Db~er§ \_Q,OO% 33€' llSOFM

Date and Time

Release on Personal Recognizance or Unsecured Bond
IT IS FURTHER ORDERED that the defendant be released provided that:
( l/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( ) (5) 'l"he defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
_______
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.

 

"~Is document entered on the dockets l mp
”lule 55 and!or 32(1‘)) FRCrP on

DISTR_IBUTJON: COURT DEFENDANT PRETRIAL SERVICES U.S. AT'|`ORNEY U.S. MARSHAL

 

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Additional Conditions of Release

IT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( } (6) The defendant is placed in the custody of:

(Name of person or organization)

{Address)

(City and state} (Tel. No.)
who agrees {a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the ap
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions ofrelease or disappears

 

 

 

pearance ofthe defendant at all scheduled court

Signed.'

 

Custodian or Proxy Date

( X ) (7) "l`he defendant shall:
( ) (a) report to the Pret'rial Ser‘vices Oftice as directed ,
telephone number 90l-495-1550 , not later than .
( ) (b) execute a bond or an agreeth to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

( ) {c) post with the court the following indicia of ownership of the above-described property, or the following amount or percentage ofthe above-described

 

( ) (d} execute a bail bond with solvent sureties in the amount of$
( ) (e) maintain or actively seek employmentl

( ) (t) maintain or commence an education program

( ) (g) surrender any passport to:
( ) (h) obtain no passportl

( ) (i) abide by the following restrictions on personal association, place of abode, or travels

 

 

( ) (j) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

( X ) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows: as directed by Pretrial Ofticer

 

( ) (l) return to custody each (Week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

( ) (m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer

( X ) (n) refrain from possessing a iirearrn, destructive device, or other dangerous weapons

( ) (o) refrain from ( )any { )excessive use ofalcohol.

(X) (p) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 2l U_S.C. § 802, unless prescribed by a licensed medical

( X ) (q) submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or
any form of prohibited substance screening or testing.

( X ) (r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising

( ) (s) refrain from obstructing or attempting to obstruct or ramper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) ofrelease.
( ) (t} participate in one of the following home confinement program components and abide by ali the requirements of the program which ( ) will or
( ) will not include electronic monitoring or other location verification system You shall pay all or part ofthe cost of the program based upon your ability
to pay as determined by the pretrial services oiiice or supervising officer.
( ) (i) Curi`ew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the pretrial
services office or supervising ofticer; or
( ) (ii) HomeDetention. You are restricted to your residence at all times except foremployment; education; religious services; medical, substance abuse,
or mental health treatmen t; attorney visits,' court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising ofticer; or
( } (iii) Home lncarceration. You arc restricted to your residence at all times except for medical needs or treatment religious services, and court
appearances pre-approved by the pretrial services office or supervising ofticer.
( ] (u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop.

( X ) (v) refrain from wearing Shelby County uniform or accouterment that would that would signify employment with a law enforcement agency.

 

( )(W)

 

 

( )(X)

 

 

 

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Page 3 Pages

Advice of Penalties and Sanctions

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a Warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment a fine,

Tlie commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of n ot m ore than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a witness, victim
or inforinant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

l acknowledge that l am the defendant in this case and that I arn aware of the conditions of release. l promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I arn aware of the penalties and sanctions set forth
above.

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airwpr pizza/pipe <//)r».ri -~7@ 73

Signature of Defendant

fit 635 ,Qt rptepr</wz)e/ Q¢/e
Address

EFWJ/Leoi -7’/\) `725`~ /2 co
l City!and State Telephone

I)irections to United States Marshal

( ) The defendant is ORDERED released after processing l n _
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for re se. The defendant shall be produced before the appropriate

judge at the time and place specified, if still in custody.

    
 
 

 

Date: M], 2005

 
 

Sig ature of Judicial Officer

Judge Bernice B. Donald
Narne and Title of Judicial Officer

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UNITED S`…ATEISTIC COURT - W"'RNTE DSTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20074 Was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

